









Dismissed and Opinion filed January 22, 2004









Dismissed and Opinion filed January 22, 2004.

&nbsp;

In The

&nbsp;

Fourteenth Court of Appeals

____________

&nbsp;

NO. 14-03-01336-CV

____________

&nbsp;

RALPH O. DOUGLAS, Appellant

&nbsp;

V.

&nbsp;

JOYCE BOOKER, Appellee

&nbsp;



&nbsp;

On Appeal from the 129th District
Court

Harris County, Texas

Trial Court Cause No.
01-51709

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp; O P I N I O N

This is an appeal from a judgment signed September 10,
2003.&nbsp; No clerk=s record has been filed.&nbsp; The clerk responsible for preparing the
record in this appeal informed the court appellant did not make arrangements to
pay for the record.&nbsp; 

On December 23, 2003, notification was transmitted to all parties
of the Court's intent to dismiss the appeal for want of prosecution unless,
within fifteen days, appellant paid or made arrangements to pay for the record
and provided this court with proof of payment.&nbsp;
See Tex. R. App. P. 37.3(b).








Appellant filed no response.

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

Judgment rendered and Opinion
filed January 22, 2004.

Panel consists of Chief Justice
Hedges and Justices Anderson and Seymore.

&nbsp;





